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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

______________________________________________________________________________

UNITED STATES OF AMERICA,
                  Plaintiff,

                v.                        Case No. 6:16-cr-10141-EFM-01

CURTIS WAYNE ALLEN,
                        Defendant.
______________________________________________________________________________
       DEFENDANT CURTIS WAYNE ALLEN’S MOTION TO STRIKE
                    GOVERNMENT’S REPLY (DOC. 473)
______________________________________________________________________________

        Curtis Allen asks the Court to strike from the docket and not consider the

“Government’s Reply to Defendants’ Response to Notice of Additional Authorities

Relevant to U.S.S.G. § 3A1.4 [Doc. 472]”. 1

        This round of briefing arose because government counsel argued its position

during the last hearing by reference and citation to a case that was not included in

the government’s pleadings filed prior to the hearing. The Court ordered the

government to file the additional authority 2 and established a deadline for the

defense to file a response, which it did. 3 The Court did not give permission, nor

invite, the government to file a reply.




1   D.E. 473.

2 D.E. 470, 471. The government filed a notice of additional authorities and then
filed a supplemental notice.

3   D.E. 472.
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          The government did not seek leave to file a reply. Rather, the government

filed a reply that addressed the defense response for less than three pages before

rehashing and reworking arguments it made previously, accompanied by more than

500 pages of exhibits. A reply is not a pleading that may be “filed as a matter of

right,” and therefore requires leave of the court to file, according to D. Kan. Rule

15.1. 4

          We ask the Court to strike the government’s reply from the docket and not

consider it when determining the issue before the Court whether the government

has met its burden to prove the terrorism enhancement under § 3A1.4 applies to

this case.

                                          Respectfully submitted,


                                          s/ Melody Brannon
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4
 That rule incorporates D. Kan. Rule 7.1. Subsection (f) addresses supplemental
authorities and is very limited.
                                            2
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                                   s/ Rich Federico
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                      CERTIFICATE OF SERVICE

   I hereby certify that on December 3, 2018, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, which will
send a notice of electronic filing to all interested parties.


                                   s/ Melody Brannon
                                   MELODY BRANNON, #17612

                                   s/ Rich Federico
                                   RICH FEDERICO, #22111




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